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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
          LVB-OGDEN MARKETING, LLC,
 8                              Plaintiff,
                                                         C18-243 TSZ
 9             v.
                                                         MINUTE ORDER
10        DAVID S. BINGHAM, et al.,
11                              Defendants.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
            (1)     Plaintiff’s Motion for a Temporary Restraining Order and/or Preliminary
14
     Injunction, docket no. 4, is DENIED. An order detailing the Court’s rationale for this
     ruling will follow.
15
           (2)     The Court has reviewed the parties’ Joint Status Report, docket no. 127.
16 The parties appear to agree, at least in part, that they can be ready for trial on an
   expedited basis. See Joint Status Report at 5–6. Due to the complexity of this case, a
17 jury trial will be SET for Monday, April 29, 2019. A scheduling order reflecting this trial
   date and all corresponding pre-trial deadlines will follow.
18
           (3)     The parties dispute whether any dispositive motion practice should proceed
19 in stages. Plaintiff proposes different stages of summary judgment briefing and
   evidentiary hearings prior to trial. Defendants contends that a “staged” approach is
20 unworkable in light of the factual overlap between the parties’ various claims and
   defenses. The Court concludes that some additional briefing on an expedited basis would
21 be useful in narrowing the issues of this case, as follows:

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 1               A.     Stage 1: Motion for Partial Summary Judgment: Plaintiff is
          DIRECTED to file, no later than Thursday, September 6, 2018, a motion for
 2        summary judgment concerning (i) any self-settled transfers to the Sharon Graham
          Bingham 2007 Trust (the “Trust”); and (ii) any payments made to Defendant
 3        Sharon Bingham from the Fisher Trusts. See Joint Status Report at 1–2 (referred
          to as “Stage 1”). This motion should be briefed and noted in accordance with
 4        Local Civil Rule 7. Each party may file one additional summary judgment motion
          concerning any remaining issues on or before the dispositive motion deadline,
 5        which will be set in the forthcoming scheduling order.

 6              B.    Stage 2: Supplemental Briefing: Each party is DIRECTED to file
          one supplemental brief, not to exceed twenty-four (24) pages, on or before Friday,
 7        September 21, 2018, addressing the following issues:

 8                    i.       Issue 1: The record before the Court demonstrates that the
                Trust holds two judgments of $23,290,953 and $57,617,482, respectively,
 9              against the same debtors as Plaintiff. See Declaration of Henry W. Dean,
                Trustee in Support of Response to Motion for Preliminary Injunction,
10              docket no. 38, Exhibit H (the “Umpqua Judgment”), Exhibit L (assignment
                of the Umpqua Judgment), Exhibit R (the “Centrum Judgment”);
11              Declaration of R. Bruce Johnston in Opposition to Plaintiff’s Motion for
                Preliminary Injunction, docket no. 35, Exhibit 1A (assignment of the
12              Centrum Judgment). The parties are DIRECTED to address whether there
                is any legal or equitable reason why those judgments would not have
13              priority over Plaintiff’s judgment.

                     ii.       Issue 2: Whether Plaintiff needs an order from this Court
14              before it can execute on the assets of Defendant CCRB Enterprises, LLC,
                SKBB Enterprises, LLC, or any other assets outside of the Trust.
15
                    iii.     Issue 3: Whether the Court should bifurcate the trial into two
16              or more stages. See Joint Status Report at 5–6.

17        Each party may file one responsive brief, not to exceed twelve (12) pages, on or
          before October 5, 2018.
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          (4)   The Clerk is directed to send a copy of this Minute Order to all counsel of
19 record.

20        Dated this 17th day of August, 2018.

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     MINUTE ORDER - 2
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 1                                           William M. McCool
                                             Clerk
 2
                                             s/Karen Dews
 3                                           Deputy Clerk

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     MINUTE ORDER - 3
